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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division



  BMG RIGHTS MANAGEMENT (US) LLC, el al.,

                                  Plaintiffs,

         v.                                                    No. I:14cvl6ll (LO/JFA)

  COX ENTERPRISES, INC. et al.,

                                  Defendants.


                                                ORDER


         This matter came before the Court on Defendants' consent motion on behalf of both

  sides, seeking leave to bring electronic equipment (viz., laptop computers, cords, and

  accessories) into Courthouse pursuant to the Local Civil Rule 83.3(A)(1) for the purpose of

  presenting evidence and information during the upcoming hearing in this matter on Friday,

  October 30, 2015 at 2:00 p.m. There being no opposition thereto, and it otherwise appearing

  proper to do so, it is hereby

         ORDERED that the motion is GRANTED; and it is further

         ORDERED that, upon showing a copy of this Order to the Court Security Officers,

  counsel for each party may each bring up to two (2) laptop computers, cords, and accessories

  into the Courthouse on October 30, 2015, for the purpose of in-Court electronic presentations,

  but that the parties shall not connect to the Internet while in the Courthouse, and the parties shall

  not be permitted to bring cell phones into the Courthouse; and it is further

          ORDERED that the parties may schedule a time to meet with the Court's Technology

  Administrator in Courtroom 700 prior to the hearing on October 30 for an orientation session to
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